      Case 2:24-cv-01254-AMM Document 80 Filed 10/14/24 Page 1 of 5            FILED
                                                                      2024 Oct-14 AM 11:59
                                                                      U.S. DISTRICT COURT
                                                                          N.D. OF ALABAMA


              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION


ALABAMA COALITION FOR
  IMMIGRANT JUSTICE; LEAGUE
  OF WOMEN VOTERS OF
  ALABAMA; LEAGUE OF
  WOMEN VOTERS OF
  ALABAMA EDUCATION FUND;
  ALABAMA STATE
  CONFERENCE OF THE NAACP;
  ROALD HAZELHOFF; JAMES
  STROOP; CARMEL MICHELLE
  COE; and EMILY JORTNER,   Case No. 2:24-cv-01254-AMM
                            Judge Anna M. Manasco
       Plaintiffs,


        v.
WES ALLEN, in his official capacity
  as Alabama Secretary of State;
  STEVE MARSHALL, in his
  official capacity as Alabama
  Attorney General; and JAN
  BENNETT, BARRY
  STEPHENSON, CINDY WILLIS
  THRASH, and SHEILA COX
  BARBUCK, in their official
  capacities as Chairs of Boards of
  Registrars of Elmore, Jefferson,
  Lee, and Marshall Counties;
        Defendants.
        Case 2:24-cv-01254-AMM Document 80 Filed 10/14/24 Page 2 of 5




PRIVATE PLAINTIFFS’ SUPPLEMENTAL EVIDENTIARY SUBMISSION
           IN SUPPORT OF PRELIMINARY INJUNCTION
       The Private Plaintiffs in these consolidated cases respectfully file the

       following evidence:

  Exhibit     Description                                       Bates Stamp
              Declaration of Clarence Hunter in Support of
  30
              Motion for Preliminary Injunction
  31          Emails Between Laney Rawls and Anna Barrett       AL 392-394
              Emails Between Laney Rawls and Safiyah
  32                                                            AL 412-414
              Riddle
              Emails Between Laney Rawls and Jude Joffe-
  33
              Block                                             AL 437-440
  34          Emails Between Laney Rawls and Jane Timm          AL 446-447
  35          Emails Between Clay Helms and Holley Cook         AL 482-486
              Emails Between Nona Short and Adam
  36                                                            AL 491-492
              Alexander
              August 12, 2024 Email Between Clay Helms and
  37                                                            AL 495
              Adam Alexander
              August 7, 2024 Email Between Clay Helms and
  38                                                            AL 497
              Adam Alexander
              July 29, 2024 Email Between Clay Helms and
  39                                                            AL 500
              Adam Alexander
              Letter from Secretary Allen to Attorney General
  40                                                            AL 503-506
              Marshall
              Emails Between Laney Rawls Office and ADOL
  41                                                            AL 579-586
              Secretary Washington
              Spreadsheet Detailing Purge-Letter Recipients
  42                                                            AL 589-590
              Who Contacted ADOL
              Election Protection Podcast with Josh Findlay,
  43          Alabama Secretary of State Wes Allen, Texas
              Public Policy Foundation (June 19, 2024)


        Date: Oct. 14, 2024                     Respectfully Submitted,

/s/ Joseph Mitchell McGuire              /s/ Kathryn Huddleston
      Case 2:24-cv-01254-AMM Document 80 Filed 10/14/24 Page 3 of 5




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        Case 2:24-cv-01254-AMM Document 80 Filed 10/14/24 Page 5 of 5




                         CERTIFICATE OF SERVICE

      I certify that on October 14, 2024, I electronically filed the above document

with the Clerk of Court using the ECF system, which will provide electronic copies

to counsel of record.

                                                   /s/ Kathryn Huddleston
                                                   Kathryn Huddleston
